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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                  TEXARKANA DIVISION

UNITED STATES OF AMERICA )
                                                  )
     v.                                           )   No. 4:22-cr-40001
                                                  )
TAWNYA LANSDELL                                   )


                      MOTION TO SEVER AND INCORPORATED BRIEF

          Defendant, Tawyna Lansdell, by and through her attorneys, Lassiter & Cassinelli, for her

Motion to Sever and Incorporated Brief, states:

          Lansdell (among co-defendants) stands charged with five offenses falling into three groups:

          Count 1: Conspiracy to Distribute Controlled Substances without a Legitimate Prescription
          – alleging that five nurse practitioners (including Lansdell) and two pharmacists 1 conspired
          to distribute Schedule II, II, and IV controlled substances without an effective prescription,
          that is, that the defendants knew or intended that their conduct was not for a legitimate
          medical purpose by a practitioner acting in the usual course of professional practice.

          Count 2: Conspiracy to Commit Health Care Fraud – alleging that Lansdell, as owner and
          operator of the medical clinic; Rusty Griffin, as a person “in a management role, including
          at its administrative office;” and Michael Martin, as a person “in a management role,
          including at its administrative office,” conspired to defraud Medicare and Medicaid by
          directing providers to bill the highest billing codes, directing providers to bill for additional
          services not provided, directing providers to bill Covid testing as an office visit and to bill
          recipients for additional services not provided, and causing billing forms to include the
          increased billing codes and additional services, all in order to enrich themselves.

          Counts 3 – 5: Conspiracy to Commit Wire Fraud and Wire Fraud – alleging Tawnya
          Lansdell, Michael Lansdell (Tawnya’s husband and officer (not owner) in both businesses),
          Lansdell Family Clinic, PLLC and Lansdell Farms, LLC conspired to commit wire fraud
          and committed wire fraud by obtaining a PPP loan and using the loan proceeds to pay for
          personal expenses including paying off farm land debt and buying a boat, and then seeking
          forgiveness of the loan; and making false or fraudulent representations for the purpose of
          executing the scheme to defraud, all in order to enrich themselves.




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    An additional pharmacist was indicted but dismissed on motion of the government.
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       Lansdell moves to sever the counts pursuant to Fed. R. Crim. P. 8 and Fed. R. Crim. P. 14

because joinder of Count 1 with Counts 2 and 3-5, and Counts 2 and 3-5 with each other, was

improper and will prejudice Lansdell. Severance is necessary to promote a fair determination of

Lansdell’s guilt or innocence for each offense.

        I.      Impropriety of Joinder.

       “When a defendant moves for a severance, a district court must first determine whether

joinder is proper under Federal Rule of Criminal Procedure 8.” United States v. Darden, 70 F.3d

1507, 1526 (8th Cir. 1995). Fed. R. Crim. P. 8 states:

           (a) JOINDER OF OFFENSES. The indictment or information may charge a
       defendant in separate Counts with 2 or more offenses if the offenses charged—
       whether felonies or misdemeanors or both—are of the same or similar character, or
       are based on the same act or transaction, or are connected with or constitute parts
       of           a           common               scheme            or            plan.

           (b) JOINDER OF DEFENDANTS. The indictment or information may charge
       2 or more defendants if they are alleged to have participated in the same act or
       transaction, or in the same series of acts or transactions, constituting an offense or
       offenses. The defendants may be charged in one or more Counts together or
       separately. All defendants need not be charged in each Count.

Fed. R. Crim. P. 8. The Eighth Circuit has held that the propriety of joinder must appear on the

face of the indictment. United States v. Wadena, 152 F.3d 831, 848 (8th Cir. 1998) ("An indictment

must reveal on its face a proper basis for joinder.”) (citing United States v. Bledsoe, 674 F.2d 647,

655 (8th Cir. 1982) (overruled on other grounds). While joinder of offenses is generally governed

by Rule 8(a), this is not the case in situations involving multiple defendants. In cases involving

jointly indicted multiple defendants “even as to the joining of offenses the propriety of the initial

joinder is governed by 8(b).” United States v. Jones, 880 F.2d 55, 61 (8th Cir. 1989).

       Since this Court must determine the propriety of joinder pursuant to Rule 8(b) rather than

Rule 8(a), the government bears a higher burden. Rule 8(b) does not allow for joinder on the basis



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of similar character, and instead establishes a “same series of acts or transactions” test. See, e.g.,

Jones, 880 F.2d at 61 (“[T]he government may not tack 8(a) and 8(b) together and in one

indictment charge different defendants with committing unrelated offenses of ‘similar

character.’”).

       The Court in Jones defined “same series of acts or transactions” to mean “acts or

transactions that are pursuant to a common plan or common scheme, which is to say (in the usual

case) that the acts or transactions are part of a single conspiracy.” Id. at 61; see also United States

v. Mann, 701 F.3d 274, 289 (8th Cir. 2012) (“Generally, the ‘same series of acts or transactions’

means acts or transactions that are pursuant to a common plan or a common scheme.”) (quoting

Wadena, supra).

       Rule 8(b) requires that there be some common activity involving all of the
       defendants which embraces all the charged offenses even though every defendant
       need not have participated in or be charged with each offense. See United States v.
       Ford, 632 F.2d 1354, 1372-73 (9th Cir. 1980), cert. denied, 450 U.S. 934 (1981).
       In order to be part of the "same series of acts or transactions," acts must be part of
       one overall scheme about which all joined defendants knew and in which they all
       participated. United States v. McKuin, 434 F.2d 391, 395-96 (8th Cir. 1970), cert.
       denied, 401 U.S. 911 (1971). Although a conspiracy Count is not always essential
       for joinder of Counts which do not all include every joined defendant, in the
       absence of such an allegation, other facts must be alleged which at least suggest the
       existence of an overall scheme encompassing all the defendants and all the charged
       offenses. See United States v. Porter, 441 F.2d 1204, 1212 (8th Cir.), cert.
       denied, 404 U.S. 911 (1971).

United States v. Bledsoe, 674 F.2d 647, 656-57 (8th Cir. 1982).

       A series of conspiracies may be joined in one prosecution if they satisfy the test of Rule

8(b). See United States v. Perez-Ochoa, 4:21-CR-40097-KES (D. S.D. October 11, 2022) (2022

U.S. Dist. LEXIS 187078 *) ( 2022 WL 6721026) (citing Wright & Miller, 1A Fed. Prac. & Proc.

Crim. § 145 (5th ed. Apr. 2022); see also United States v. Garcia, 848 F.2d 1324, 1333 (2d Cir.

1988), rev'd on other grounds sub nom. Gomez v. United States, 490 U.S. 858, 109 S. Ct. 2237,



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104 L. Ed. 2d 923 (1989)). “Where not all defendants are charged in each conspiracy, the

conspiracies must be part of one overall scheme.” Id. “[D]efendants charged with two separate

albeit similar conspiracies having one common participant are not, without more, properly joined.”

Id. (citing United States v. Welch, 656 F.2d 1039, 1049 (5th Cir. 1981)).

       The indictment herein does not allege the existence of a broad scheme encompassing the

conduct in each of the three counts. See, e.g., Bledsoe, 674 F.2d at 655. For the initial joinder to

satisfy Rule 8(b) in this case, the indictment must demonstrate that the separate offenses were of

the same series of acts or transactions in service of a common scheme or plan. The indictment must

allege that the defendants participated in the same act or in the same series of acts constituting the

offenses. On the face of the indictment, the government does not allege a single, common scheme

connecting the alleged drug trafficking to the alleged health care fraud or the alleged PPP fraud.

Even between the alleged health care fraud and the alleged PPP fraud, the general purpose to enrich

different combinations of defendants (Tawnya Lansdell being the only common defendant in the

two conspiracies) does not thereby constitute a common scheme. Instead, the superseding

indictment alleges not one but three distinct conspiracies allegedly committed by differing

defendants engaged in separate and distinct acts comprising the separate offenses.

       In Wadena, various combinations of three defendants participated in three conspiracies, all

designed to position them to steal money from the tribe for which they served as tribal council

members. 152 F.3d at 836-39. All three defendants were convicted of (1) the construction

conspiracy by which the defendants diverted to themselves the tribe’s funds purportedly for a

casino construction, and (2) the commissions conspiracy by which the defendants diverted to

themselves the tribe’s funds in the form of excessive commission payments. Two of the three

defendants were also convicted of the election conspiracy by which they fabricated and forged



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ballots in an attempt to procure the election of certain candidates to tribal positions. Although the

indictment alleged multiple conspiracies, the defendants’ participation substantially overlapped.

The election conspiracy (which charged only two of the three defendants) was to ensure the future

election of Clark and others and ensure their continued access to tribal funds (that they had

previously used to steal via the construction and commission conspiracies). Id. at 848. The Court

found joinder was proper because, on its face, the Indictment alleged “more than a mere overlap

in personnel and the common objective of making money,” but clearly alleged “a series of acts or

transactions with the sole purpose of furthering a common scheme of using [the defendants’]

positions in tribal government to access tribal funds and misapply those funds for [] personal gain.”

Id. at 848.

        In the present case, the indictment does not allege an overall scheme like the indictment

held to satisfy Rule 8(b) in Wadena, much less one in which all of the defendants engaged in a

series of acts or transactions to further it. The indictment does not identify a common scheme or

plan of which all three offenses could be part and to which all defendants allegedly contributed in

some way. Instead, there is no discernible connection between the counts in the indictment, and

there is only one common defendant with numerous, and various, codefendants in each count; the

indictment does not even allege that the defendants were aware of each other or of the conduct

alleged in the other offenses, much less that they all acted in service to a common purpose. The

indictment also fails to indicate whether any of the counts served to further the objectives of the

others. Instead, it alleges three disparate offenses (or sets of offenses as to Counts 3-5) that should

be tried separately.

        Although the indictment alleges in paragraph fifteen that Tawnya and Michael Lansdell

certified they were not engaged in illegal activity when submitting their PPP loan documents



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despite, according to the indictment, that Tawnya Lansdell was knowingly involved in

conspiracies to distribute controlled substances and commit health care fraud, this allegation does

not tie these three separate offenses together such that there is a common scheme or purpose.

Rather, it actually demonstrates that the conduct alleged in Counts 1 and 2 was potentially

obstructive to the conduct in Counts 3-5, and certainly not in furtherance of it or vice versa. There

is no logical way that any of these disparate offenses furthered the purposes of one another.

       Since the face of the superseding indictment fails to demonstrate that the separately charged

conspiracies alleged therein meet the requirements of Rule 8(b), joinder was improper, and this

Court should sever the offenses and require separate jury trials.

        II.      Prejudice Without Severance.

       Forcing Lansdell to defend herself against unrelated charges in the same trial will prejudice

her. Therefore, even if this Court determines that initial joinder satisfies Rule 8(b)’s requirements,

severance of each count from the others is appropriate relief pursuant to Rule 14(a), which states

the following:

                     (a) RELIEF. If the joinder of offenses or defendants in an indictment,
                 an information, or a consolidation for trial appears to prejudice a defendant
                 or the government, the court may order separate trials of Counts, sever the
                 defendants’ trials, or provide any other relief that justice requires.

Fed. R. Crim. P. 14. The objective of both Rules [8 and 14] is to balance the prejudice inherent in

joint trials against the interests in judicial economy. United States v. Jones, 880 F.2d 55, 60 (8th

Cir. 1989).

       Severance of the counts will prevent avoidable prejudice to Lansdell. As discussed above,

the government does not allege any interaction between the separate conspiracies charged in the

superseding indictment. The nature of the various offenses render them inherently prejudicial as

to each other. Further, the proof as to each count differs in both content and weight, making it risky

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to allow the jury to consider it all together, when the jury might use evidence on one offense to

infer guilt on another. The subject matter of Count 1 – that is, distribution of opiates – itself should

not be tried with other offenses that have nothing at all to do with medical prescribing or controlled

substances. The disparate nature of the charges makes probative evidence for one count propensity

evidence for another.

        “Where evidence that a defendant had committed one crime would be probative and thus

admissible at the defendant’s separate trial for another crime, the defendant does not suffer any

additional prejudice if the two crimes are tried together.” United States v. Rodgers, 732 F.2d 625,

630 (8th Cir. 1984). Unlike Count 1, the offenses alleged in Counts 2 and 3-5 have nothing to do

with prescription medications. Evidence and testimony regarding the conduct alleged in Counts 2

and 3-5 would not be probative at a trial regarding Count 1. Nor would evidence and testimony

regarding the conduct alleged in Count 1 be probative at trials regarding Counts 2 and 3-5.

Moreover, Rule 404(b) would prohibit the introduction of such evidence as propensity evidence,

because the evidence does not fit any of the permissible categories of evidence enumerated in that

Rule. Since evidence that Lansdell had committed the crimes alleged in Counts 2 and 3-5 would

be neither probative nor admissible in a separate trial for Count 1, and vice versa, Lansdell will

suffer prejudice if the alleged crimes are tried together.

       Similarly, this Court should sever Counts 2 (healthcare fraud) and 3-5 (PPP fraud) from

each other. Count 2 encompasses alleged conduct regarding healthcare billing and evidence and

testimony comparing the care provided to the care billed. The other, the PPP fraud, concerns

Lansdell and her husband, no one else at the clinic, and will require evidence and testimony

regarding their business operations. Further, although the evidence is flimsy on all counts, the

evidence is particularly rail thin on some of them; the Court should not permit the government to



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tack on the the weaker counts and rely on the evidence and testimony presented on other counts to

paint a negative and frightening picture of Lansdell.

       Severance will also serve the interest of judicial economy. Each of the alleged offenses

implicates a unique, and uniquely complex, section of the law. Simply put, attempting to

simultaneously impart to a single jury a clear enough understanding of prescription authorization,

medical billing, and the PPP loan application process (all of which are governed by esoteric laws

and regulations), such that they can make a reasonable decision as to Lansdell’s innocence or guilt

on all three offenses without confusing issues or evidence, does not serve judicial economy.

Therefore, joinder of these offenses greatly increases the risk of a mistrial, or a miscarriage of

justice, frustrating the goal of judicial economy. Severance will allow all parties to simplify their

arguments and presentations, decreasing the risk of jury confusion or misconduct and ultimately

allowing for a more efficient resolution of each charge. Therefore, the desire for judicial economy

supports severance.

       Defense counsel have struggled to organize and prepare for what amounts to a trial

regarding three separate indictments combined into one – it is extremely difficult to keep track of

what evidence (both that provided by the government and gathered by the defense) pertains to

what set of charges and defenses, and to break down the issues and responsive evidence regarding

each of them – even with trained professionals working diligently to do so. To require a jury to

maintain these distinctions while also learning about complex medical process/procedures and

prescribing, medical billing requirements and practices, and PPP/SBA loan requirements and

processes seems unduly burdensome at the least. The risk of confusion and spillover between the

evidence on disparate counts (and between defendants) is so high, those things are nearly certain

to occur. Further, this trial will be lengthy in duration, with jurors trying to compartmentalize the



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evidence and retain complex information crossing three distinct subject-matters (at a minimum)

for many days. It is unfair to the defendants and to the jurors to force all of this into one trial, so

much so that it would violate Lansdell’s constitutional right to a fair trial to do so.

        Since severance of all counts decreases the risk of prejudice to Lansdell and serves the

interest of judicial economy, severance is appropriate under Rule 14. At a minimum, the Court

should sever Count 1 from all other counts due to the extreme prejudice that trying a drug

distribution case would have on a jury determining guilt on the other offenses.

         III.    Codefendants’ Statements.

        In Bruton v. United States, the Supreme Court held that the admission of a non-testifying

defendant’s statement that incriminated a co-defendant violated the latter's Confrontation

Clause rights. 391 U.S. 123, 135-36 (1968). To the extent that the government may seek to

introduce codefendants’ statements during its case, the Confrontation Clause may require a

severance. There is a substantial risk that, despite instructions to the contrary, the jury will consider

incriminating extrajudicial statements of a codefendant in determining Lansdell’s guilt; admission

of those statements in a joint trial will violate Lansdell’s right of cross examination guaranteed by

the Confrontation Clause of the Sixth Amendment. Due to the nature of the charges, particularly

the conduct alleged in Count 1, redaction of any statement or a purportedly curative jury instruction

would not suffice to alleviate any prejudice.

         IV.     Conclusion.

        Joinder of Count 1 with Counts 2 and 3-5, and Counts 2 and 3-5 with each other, was

improper under 8(b); moreover, severance of counts is an appropriate remedy under Rule 14. For

the foregoing reasons, the Defendant, Tawnya Lansdell, respectfully requests that the court sever

all counts alleged in the superseding indictment.



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       WHEREFORE, the Defendant, Tawnya Lansdell, asks the Court to grant her motion and

for any other relief the Court finds appropriate.



                                                         Respectfully Submitted,

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